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January 14, 2019

U.S. Judge Susie Morgan, c/o Jonathan Aronie jaroinie@sheppardmullin.com

Re: USA v New Orleans, USDC 2:12-cv-01924 – SM-JCW

Dear Judge Morgan and Mr. Aronie:

I write to advise the Court, through the Monitor, that members of the New Orleans community,
specifically including the community organization, Citizens United for Change, strongly urge the January
proceedings in this matter to be televised on public access television. As you know, CUC members have
been involved in ongoing efforts to make the NOPD accountable to the community and to the
constitution for decades before this case was initiated and has continued to do so once this case was
filed.

CUC asks is there some compelling reason that the public should not be allowed to view these
proceedings? It is undisputable that many, many more people will have the ability to watch and
understand the proceedings if they are on public access TV. Why would any party or the court want
fewer people to know what is going on? It seems the more the public knows, the more democratic this
process is.

The preamble to the Consent Decree states: “The Parties have a shared recognition that the ability of a
police department to protect the community it serves is only as strong as the relationship it has with
that community. Public safety, constitutional policing, and the community’s trust in its police force are
thus interdependent.” (page 1 of Consent Decree). The Consent Decree has further specific provisions
setting out the goals of transparency and oversight, (see Section XVIII).

Public knowledge, understanding and support is absolutely essential for the New Orleans Police
Department to achieve a consistent level of constitutionally acceptable practice.

Therefore the members of CUC, and certainly many other members of the public at large, urge this court
and the parties to follow the principles of the Consent Decree and be as transparent as possible and
allow as many citizens as possible to learn what is happening with the NOPD. Failure to do so can only
result in less transparency, less accountability and less trust.

We further ask that this letter be filed in the official record of these proceedings.

Respectfully submitted,
/s Bill Quigley
William P. Quigley, counsel for Citizens United for Change
